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              In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 17-1096V
                                       (UNPUBLISHED)

    ************************* *
                                *
    SIMON OLSCHANSKY,           *
                                *                          Special Master Katherine E. Oler
                                *
                    Petitioner, *                          Filed: October 21, 2019
                                *
    v.                          *
                                *                          Decision on Stipulation; Entitlement;
    SECRETARY OF HEALTH AND     *                          Damages; HPV; Gardasil; Vitiligo; Lump
    HUMAN SERVICES,             *                          sum.
                                *
                                *
                    Respondent. *
                                *
    ************************* *

Andrew Downing, Van Cott & Talamante, PLLC, Phoenix, AZ, for Petitioner.
Brittany Ditto, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                              DECISION ON JOINT STIPULATION 1

       On August 15, 2017, Simon Olschansky (“Petitioner”) filed a petition seeking
compensation under the National Vaccine Injury Compensation Program (“the Vaccine
Program”). 2 Pet., ECF No. 1. Petitioner alleges that he suffered vitiligo as a result of the HPV
(Gardasil) vaccinations he received on June 16, 2014 and January 2, 2015. Id at 1-2.



1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend to
post this decision on the United States Court of Federal Claims’ website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2012)). This means the ruling will be available to anyone with access to the
internet. As provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the decision’s
inclusion of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party
has fourteen days within which to request redaction “of any information furnished by that party: (1) that is
a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). Otherwise, the Decision in its present form will be available. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C.A. ' 300aa-
10-' 300aa-34 (West 1991 & Supp. 2002). All citations in this decision to individual sections of the Vaccine
Act are to 42 U.S.C.A. ' 300aa.
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        Respondent denies that the HPV vaccines caused Petitioner’s vitiligo or any other injury.
Stip. ¶ 6, dated October 18, 2019, ECF No. 37.

        Nonetheless both parties, while maintaining their above-stated positions, agreed in a joint
stipulation filed October 18, 2019 that the issues before them can be settled and that a decision
should be entered awarding Petitioner compensation. Stip. ¶ 7.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
is reasonable. I therefore adopt it as my decision in awarding damages on the terms set forth
therein.

       The stipulation awards:

       1.    A lump sum of $38,696.72 in the form of a check payable to Petitioner.

Stip. ¶ 8. This award represents compensation for all damages that would be available under 42
U.S.C. § 300aa-15(a).

        I approve a Vaccine Program award in the requested amount set forth above. In the absence
of a motion for review filed pursuant to RCFC Appendix B, the Clerk of the Court is directed to
enter judgment herewith. 3

       IT IS SO ORDERED.

                                                               s/ Katherine E. Oler
                                                               Katherine E. Oler
                                                               Special Master




3
 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice of
decision not to seek review.
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